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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Phillip Christianson,                               )
                                                    )       Case No. 14 C 7363
                        Plaintiff,                  )
               v.                                   )       Honorable Judge
                                                    )       Harry D. Leinenweber
Karen Yarbrough, et al.,                            )
                                                    )
                        Defendants.                 )


     DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendants, Karen Yarbrough, William Velazquez, William Drobitsch, the Cook County

Recorder of Deeds Office, and Cook County, by and through their attorney, Anita Alvarez, Cook

County State’s Attorney, and her assistant, Scott A. Golden, Assistant State’s Attorney, answer

Plaintiff’s First Amended Complaint as follows:

                                     JURISDICTION AND VENUE

       1.      In 1969, Cook County was made the subject of a federal lawsuit in the Northern

District of Illinois entitled Michael Shakman et al. vs. Democratic Organization of Cook County,

et al., Case No. 69 C 2145. In order to resolve many of the issues involved in that case, Cook

County and the Cook County Recorder of Deeds Office entered into Consent Decrees that

prohibited Cook County and the Cook County Recorder of Deeds Office from “conditioning,

basing or knowingly prejudicing of affecting any term or aspect of government employment with

respect to one who is a government employee upon or because of any political reason or factor”.

ANSWER:        Defendants admit that Cook County and the Cook County Recorder of Deeds are

parties to the case of Shakman et al. vs. Democratic Organization of Cook County, et al., Case

No. 69 C 2145, and that the Cook County Recorder of Deeds entered into a Supplemental Relief
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Order in that case. Defendants deny the remaining allegations in paragraph 1. Defendants further

state that Defendant Cook County is included in this matter for indemnification purposes only

and is not a substantive defendant herein.

       2.      The Consent Decrees are often referred to as the “Shakman Decrees”.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 2 and, therefore, deny same.

       3.      The District Court for the Northern District of Illinois has retained jurisdiction

over the Shakman case. As part of its jurisdiction over the case, the Court is empowered to

enforce the Shakman Decrees. The authority of the Court is placed in the hands of a federal

Shakman Monitor.

ANSWER:        Defendants admit that the case of Shakman et al. vs. Democratic Organization of

Cook County, et al., Case No. 69 C 2145 is pending before the Honorable Judge Sidney I.

Schenkier in the Northern District of Illinois but Defendants deny the remaining allegations in

paragraph 3.

       4.      This action also arises under the United States Constitution, the Civil Rights Act

of 1871 (42 U.S.C. §1983).

ANSWER:        Defendants admit that Plaintiff brings this action under the United States

Constitution, the Civil Rights Act of 1871 (42 U.S.C. §1983).

       5.      This court has jurisdiction under and by 28 U.S.C. §§1343 and 1331.

ANSWER:        Defendants admit the allegations in paragraph 5.

       6.      Venue is founded in this judicial court upon 28 U.S.C. §1391 as the acts

complained of arose in this district.

ANSWER:        Defendants admit the allegations in paragraph 6.



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                                             PARTIES

       7.      At all times herein mentioned, Plaintiff Phillip Christianson (“Plaintiff”) was and

is a citizen of the United States, and was within the jurisdiction of this court.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 7 and, therefore, deny same.

       8.      Defendant Karen Yarbrough (“Yarbrough”) is sued in her individual capacity. At

all times relevant herein unless otherwise stated, Defendant Yarbrough was the Cook County

Recorder of Deeds.

ANSWER:        Defendants admit that Karen Yarbrough is sued in her individual capacity and

was sworn in to her elected position as the Cook County Recorder of Deeds on December 1,

2012. Defendants deny the remaining allegations in paragraph 8.

       9.      Defendant William Velazquez (“Velazquez”) is sued in his individual capacity.

At all times relevant herein unless otherwise stated, Defendant Velazquez was the Chief Deputy

Recorder of Deeds.

ANSWER:        Defendants admit the allegations in paragraph 9.

       10.     Defendant William Drobitsch (“Drobitsch”) is sued in his individual capacity. At

all times relevant herein unless otherwise stated, Defendant Drobitsch was a Deputy Recorder of

Deeds. (Yarbrough, Velazquez and Drobitsch are collectively referred to herein as the

“Individual Defendants”)

ANSWER:        Defendants admit the allegations in paragraph 10.

       11.     Defendant Cook County (“County”) is and was at all relevant times a municipal

corporation organized and existing under the laws of the State of Illinois. At all relevant times,

Cook County administered itself through various departments and offices.



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ANSWER:        Defendants admit the allegations in paragraph 11. Defendants further state that

Defendant Cook County is included in this matter for indemnification purposes only and is not a

substantive defendant herein.

       12.     At all relevant times, Defendant Cook County Recorder of Deeds Office

(“Recorder’s Office”) is and was an elected office of Cook County.

ANSWER:        Defendants deny the allegations in paragraph 12.

                                  FACTUAL ALLEGATIONS

       13.     On September 25, 2012, Eugene Moore (“Moore”), the former Recorder of

Deeds, offered Plaintiff the position of concourse manager in the Recorder’s Office. Plaintiff

accepted the Concourse Manager position on September 26, 2012.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 13 and, therefore, deny same.

       14.     Plaintiff began working as the concourse manager in the Recorder’s Office on

October 9, 2012.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 14 and, therefore, deny same.

       15.     On November 6, 2012, Yarbrough was elected Recorder of Deeds.

ANSWER:        Defendants admit the allegations in paragraph 15.

       16.     Velazquez was Yarbrough’s campaign manager while she was running for the

Recorder of Deeds position. In late September 2012, after Plaintiff accepted the position of

concourse manager, Velazquez approached the then Chief Deputy Recorder Darlena Williams-

Burnett (“Williams-Burnett”) and criticized her for filling certain high-level positions, including

the Plaintiff’s concourse manager position. Velazquez told Williams Burnett “I [would] hate for



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[the new hires] to not have their jobs when [Ms. Yarbrough] comes in; is there any way you can

take these [postings] down?” Yarbrough also contacted Williams-Burnett and told her she was

disappointed that Williams-Burnett was filling high-level positions, despite the fact that she had

not yet been elected as Recorder of Deeds.

ANSWER:        Defendants admit that Velazquez was Yarbrough’s campaign manager while she

was running for the office of Cook County Recorder of Deeds. Defendants deny the remaining

allegations in paragraph 16.

       17.     Velazquez and Yarbrough told Williams-Burnett that they did not want her filling

high-level positions in the Recorder’s Office because they wanted to stop Moore from hiring

employees in order to allow Yarbrough the opportunity to fill those positions after the election.

ANSWER:        Defendants deny the allegations in paragraph 17.

       18.     As a result of her communications with Velazquez and Yarbrough, Williams-

Burnett took down a job posting for a high-level position. However, Williams-Burnett did not

revoke her offer of the concourse manager position to the Plaintiff.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 18.

       19.     On November 8, 2012, Plaintiff received a 30-day evaluation. Plaintiff received

an overall score of 4.57 out of 5 on his 30-day evaluation.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 19.

       20.     On November 30, 2012, Plaintiff received a 60-day evaluation. In this 60-day

evaluation, Plaintiff was described as a “great employee”.




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ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 20.

       21.     Yarbrough took office as the Recorder of Deeds in early December 2012. When

Yarbrough took office, she appointed Velazquez as the Chief Deputy Recorder of Deeds.

ANSWER:        Defendants admit the allegations in paragraph 21.

       22.      As detailed below, Yarbrough and her deputies took numerous false adverse and

pretextual employment actions against the Plaintiff because the Plaintiff was not politically

affiliated with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 22.

       23.     After Yarbrough took office, she appointed an individual named Cedric Giles

(“Giles”) as a Deputy Recorder of Deeds. As a Deputy Recorder of Deeds, Giles supervised the

Plaintiff in-between December 10, 2012 and December 23, 2012.

ANSWER:        Defendants admit that after Yarbrough took office she appointed Cedric Giles as a

Deputy Recorder of Deeds. However, Defendants are without information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 23 and, therefore, deny same.

       24.     On January 11, 2013, Giles issued a “60-day evaluation amendment” to the

Plaintiff’s 60-day evaluation as a “formal way to correct the record.” In this amendment, Giles

included a December 6, 2012 incident report alleging that Plaintiff “failed to control his area”

based upon the fact that one of the Plaintiff’s subordinates had a mini fridge in her work space

and kept shoes in a locker. This December 6, 2012 incident report was false.

ANSWER:        Defendants deny the allegations in paragraph 24.

       25.     Upon information and belief, Yarbrough knowingly, willfully or recklessly

caused Giles to issue a false amendment to Plaintiff’s 60-day evaluation and/or failed to prevent



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Giles from issuing a false amendment to Plaintiff’s 60-day evaluation because the Plaintiff was

not politically affiliated with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 25.

        26.    On January 14, 2013, Giles prepared a 90-day evaluation for Plaintiff. The

Plaintiff’s 90-day evaluation was for the period of December 10, 2012 through December 23,

2012. In the Plaintiff’s 90-day evaluation, Giles gave Plaintiff a false composite score of 2.5 out

of 5.

ANSWER:        Defendants deny the allegations in paragraph 26.

        27.    Upon information and belief, Yarbrough knowingly, willfully or recklessly

caused Giles to issue a false 90-day evaluation to Plaintiff and/or failed to prevent Giles from

issuing a false 90-day evaluation to Plaintiff because the Plaintiff was not politically affiliated

with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 27.

        28.    Yarbrough appointed Drobitsch as a Deputy Recorder of Deeds on December 24,

2013. Thereafter, Drobitsch began to supervise the Plaintiff.

ANSWER:        Defendants admit the allegations in paragraph 28.

        29.    Plaintiff’s 90-day probationary period was set to expire on January 9, 2013.

However, on or about January 9, 2013 Yarbrough, Velazquez, and Drobitsch decided to extend

the Plaintiff’s 90-day probationary period by 60 days without any justifiable explanation.

Velazquez specifically instructed Drobitsch to send an e-mail to human resources about

extending the Plaintiff’s probationary period. At the time that Plaintiff’s probationary period was

extended by 60 days, Drobtisch had supervised Plaintiff for a total of 12 days.

ANSWER:        Defendants deny the allegations in paragraph 29.



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       30.       Yarbrough, Velazquez, and Drobitsch knowingly, willfully or recklessly extended

Plaintiff’s 90-day probationary period because the Plaintiff was not politically affiliated with

Yarbrough.

ANSWER:          Defendants deny the allegations in paragraph 30.

       31.       On January 10, 2013, Velazquez e-mailed Drobitsch and instructed him to

“[d]ocument everything related to Phill [sic] Christianson advances and missteps and discipline

if warranted.”

ANSWER:          Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 31 and, therefore, deny same.

       32.       On January 14, 2013, Drobitsch issued his own 90-day evaluation of Plaintiff for

the period of time in-between December 24, 2012 and January 9, 2013. In his 90-day evaluation

of the Plaintiff, Drobitsch gave Plaintiff a false composite score of 2.42 out of 5.

ANSWER:          Defendants deny the allegations in paragraph 32.

       33.       Upon information and belief, Yarbrough knowingly, willfully or recklessly

caused Drobitsch to issue a false 90-day evaluation to Plaintiff and/or failed to prevent Drobitsch

from issuing a false 90-day evaluation to Plaintiff because the Plaintiff was not politically

affiliated with Yarbrough.

ANSWER:          Defendants deny the allegations in paragraph 33.

       34.       On January 24, 2013, Velazquez e-mailed Drobitsch again to ask for a

comprehensive memorandum regarding all incidents involving the Plaintiff including

“correspondence and advice observed.” On February 1, 2013, Drobtisch e-mailed Velazquez a

memorandum regarding the Plaintiff’s alleged inadequacies in his position as concourse

manager. None of these alleged inadequacies were truthful.



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ANSWER:        Defendants deny the allegations in paragraph 34.

       35.      In-between January 5, 2013 and February 15, 2013, Drobitsch issued several

pretextual “Incident Reports” against Plaintiff for the following incidents, amongst others:

       a.      Discovery of historical memoranda bearing the former Recorder’s name on the
               concourse level;

       b.      Plaintiff’s “inability to deal with” a subordinate who was late on four occasions;

       c.      Allowing a subordinate to travel off-site and arrive at 3:15 without a lunch break;

       d.       Having to assist the Plaintiff with “post[ing] a proper sick call memo”;

       e.      The malfunction and repair of a Lektriever machine;

       f. “    Failure [to] have control of/manage the Back Data Conversion Department” after
               equipment broke and Plaintiff failed to issue a written reprimand of a subordinate;

       g.      Bringing an employee to Drobitsch’s office to explain the dress code. 36. Upon
               information and belief, Yarbrough knowingly, willfully or recklessly caused
               Drobitsch to issue pretextual incident reports to Plaintiff and/or failed to prevent
               Drobitsch from issuing pretextual incident reports to Plaintiff because the Plaintiff
               was not politically affiliated with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 35.

       36.     Upon information and belief, Yarbrough knowingly, willfully or recklessly

caused Drobitsch to issue pretextual incident reports to Plaintiff and/or failed to prevent

Drobitsch from issuing pretextual incident reports to Plaintiff because the Plaintiff was not

politically affiliated with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 36.

       37.      On January 28, 2013, Plaintiff sent an e-mail to Drobitsch and Velazquez

informing them that he was going to train two supervisors who reported to him. Velazquez

prevented this training from occurring and stated he would need to know who was receiving

training, the justification for the training, how individuals and topics were selected for the



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training, who would perform the training and “what testing procedures have been put in place to

determine the success of the training.”

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 37 and, therefore, denies same.

         38.   Despite not allowing Plaintiff to train the supervisors under his supervision,

Drobitsch repeatedly criticized Plaintiff for assisting those same supervisors when they lacked

the requisite skills to serve customers in the Recorder’s Office.

ANSWER:        Defendants deny the allegations in paragraph 38.

         39.    On January 31, 2013, Plaintiff sent an e-mail to Drobitsch and Velazquez

advising them that the back conversion department would be down for a week and that he would

need to find temporary departments for those workers who could not resume work until the

repairs were made. Drobitsch told Plaintiff in response that Christianson needed to speak with

him before making any staff changes and that all staff changes must be approved by Velazquez

first.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 39 and, therefore, deny same.

         40.   On February 6, 2013, Drobtisch e-mailed Plaintiff regarding his job description

and alleged that Plaintiff was not performing certain duties within his job description. Drobitsch

requested Plaintiff to “plan, organize and direct the work of two supervisors and seventeen

employees as my Concourse Manager.” Yet, Yarbrough, Drobtisch, and Velazquez did not allow

Plaintiff to train the two supervisors under Plaintiff’s supervision and specifically prevented him

from performing the duties of his position.

ANSWER:        Defendants deny the allegations in paragraph 40.



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       41.     At all times, Plaintiff met his employer’s legitimate employment expectations.

Each and every negative incident report and evaluation provided to Plaintiff after Yarbrough

became the Recorder of Deeds was false.

ANSWER:        Defendants deny the allegations in paragraph 41.

       42.      In early February, 2013, Drobtisch told Plaintiff to “go make an appointment

with the Recorder and tell her that you are the man for the job…”. At that time, Plaintiff asked if

his job was on the line but Drobitsch did not answer.

ANSWER:        Defendants deny the allegations in paragraph 42.

       43.     On February 15, 2013, Drobitsch asked Plaintiff to attend a performance

evaluation meeting. At the end of the evaluation meeting, Drobitsch informed Plaintiff that he

was recommending that Plaintiff be terminated effective immediately.

ANSWER:        Defendants admit the allegations in paragraph 43.

       44.     Yarbrough, Velazquez, and Drobitsch terminated Plaintiff’s employment on

February 15, 2013.

ANSWER:        Defendants deny the allegations in paragraph 44.

       45.     Yarbrough, Velazquez, and Drobitsch’s reasons for Plaintiff’s termination were

false and pretextual.

ANSWER:        Defendants deny the allegations in paragraph 45.

       46.     Yarbrough, Velazquez, and Drobitsch were each aware that Plaintiff was not

politically affiliated with Yarbrough.

ANSWER:        Defendants deny the allegations in paragraph 46.

       47.      On February 15, 2013 Yarbrough, Velazquez, and Drobitsch terminated the

Plaintiff’s employment because the Plaintiff was not politically affiliated with Yarbrough.



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ANSWER:         Defendants deny the allegations in paragraph 47.

         48.    Yarbrough, Velazquez, and Drobitsch violated the Plaintiff’s freedom to work

free from political considerations when they terminated the Plaintiff based upon improper

political reasons or factors.

ANSWER:         Defendants deny the allegations in paragraph 48.

         49.    On April 25, 2013, Plaintiff filed a complaint with the Office of the Independent

Inspector General of Cook County (“OIIG”) alleging political discrimination.

ANSWER:         Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 49 and, therefore, deny same.

         50.    Upon information and belief, Yarbrough, Velazquez, and Drobitsch each became

aware of Plaintiff’s OIIG complaint alleging political discrimination shortly after April 25, 2013.

ANSWER:         Defendants deny the allegations in paragraph 50. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

         51.    On August 9, 2013, Velazquez sent a letter to Plaintiff’s current employer

informing them that they had received complaints about Plaintiff “refus[ing] to sign-in” to the

Tract Department; “refus[ing] to abide by the prohibition on the use of cell phones within our

Tract Department”; “us[ing] the Tract Department for purposes other than working”; and

complaints from employees that Plaintiff “interrupts them and attempts social conversation with

them”.

ANSWER:         Defendants deny the allegations in paragraph 51. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.



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         52.   None of these complaints were true. Velazquez sent this letter in retaliation for

Plaintiff’s OIIG complaint in an effort to harass and intimidate the Plaintiff and Plaintiff’s

employer.

ANSWER:        Defendants deny the allegations in paragraph 52. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

         53.   Yarbrough and Drobitsch retaliated against Plaintiff when they knowingly,

willfully or recklessly caused Velazquez to send a letter to Plaintiff’s employer on August 9,

2013 and/or failed to prevent Velazquez from sending the letter to Plaintiff’s employer on

August 9, 2013.

ANSWER:        Defendants deny the allegations in paragraph 53. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

         54.    On May 7, 2014, Plaintiff was inside the Recorder’s Office when an incident

arose with a security guard. The security guard acted inappropriately towards Plaintiff’s daughter

and Plaintiff addressed this with the security guard. Plaintiff was not hostile towards the security

guard.

ANSWER:        Defendants deny the allegations in paragraph 54. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

         55.   On May 15, 2014, the Recorder’s Office sent a letter to Plaintiff’s current

employer informing them that Plaintiff was prohibited from entering into the Recorder’s Office,




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a public office, because of the incident that took place on May 7, 2014. Plaintiff’s current

position requires him to go into the Recorder’s Office on a regular basis.

ANSWER:        Defendants deny the allegations in paragraph 55. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

       56.     Yarbrough, Drobitsch, and Velazquez personally participated in the decision to

prohibit Plaintiff from entering into the Recorder’s Office on or about May 15, 2014.

ANSWER:        Defendants deny the allegations in paragraph 56. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

       57.     Yarbrough, Drobitsch, and Velazquez each retaliated against Plaintiff when they

personally participated in the process of prohibiting Plaintiff from entering into the Recorder’s

Office. Yarbrough, Drobitsch, and Velazquez prohibited Plaintiff from entering into the

Recorder’s Office in retaliation for his filing an OIIG complaint.

ANSWER:        Defendants deny the allegations in paragraph 57. Defendants further state that

Count II of Plaintiff’s Complaint alleging political retaliation in violation of 42 U.S.C. §1983 was

dismissed by court order.

       58.     The OIIG’s investigation into Plaintiff’s allegations of political discrimination

was still ongoing in May 2014.

ANSWER:        Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 58 and, therefore, deny same.

       59.      On June 19, 2014, the OIIG issued a finding in Plaintiff’s favor.

ANSWER:        Defendants deny the allegations in paragraph 59.



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        60.     The OIIG “determined that impermissible political factors were considered in the

employment decision to terminate…Phillip Christianson”.

ANSWER:         Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 60 and, therefore, deny same.

        61.      The OIIG further concluded in its report that “Recorder Yarbrough’s pretextual

termination of Mr. Christianson shortly after she took office was a continuation of the original

Shakman violation where she, along with Mr. Velazquez, attempted to block his hire.”

ANSWER:         Defendants deny the allegations in paragraph 61.

        62.     As a result of the aforesaid acts of the Defendants, Plaintiff lost income and

benefits in an amount to be proven at the time of trial. Plaintiff claims such amounts as damages

together with prejudgment interest as permitted by law.

ANSWER:         Defendants deny the allegations in paragraph 62.

        63.     The aforementioned acts of the Defendants were reckless, willful, wanton,

malicious, oppressive, and in callous disregard and indifference to Plaintiff. Thus, Plaintiff

requests the assessment of punitive damages and/or liquidated damages against the Individual

Defendants in a sum as determined according to law and proof.

ANSWER:         Defendants deny the allegations in paragraph 63.

                                       COUNT I
               PLAINTIFF AGAINST THE INDIVIDUAL DEFENDANTS FOR
              VIOLATION OF 42 U.S.C. §1983 – POLITICAL DISCRIMINATION

        64.     Plaintiff realleges and incorporates paragraphs one (1) through sixty-three (63) as

though fully set forth at this place.

ANSWER:         Defendants restate and incorporate their answers to paragraphs 1 through 63 as its

answer to paragraph 64.



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       65.     The First Amendment protects a wide spectrum of free speech and association,

including a public employee’s right to free association and to support or not support a political

candidate of their own choosing.

ANSWER:        Defendants admit the allegations in paragraph 65.

       66.      Plaintiff engaged in the exercise of his rights under the First Amendment when

he remained politically neutral to Yarbrough and not politically affiliated with her.

ANSWER:        Defendants deny the allegations in paragraph 66.

       67.      At the time of Plaintiff’s termination, the concourse manager position was not a

position exempt from protections against politically based employment decisions.

ANSWER:        Defendants admit the allegations in paragraph 67.

       68.     Yarbrough, Drobitsch, and Velazquez deprived Plaintiff of his right to enjoy his

employment free from political interference.

ANSWER:        Defendants deny the allegations in paragraph 68.

       69.     Yarbrough, Drobitsch, and Velazquez denied Plaintiff his rights under the First

and Fourteenth Amendment when they falsely disciplined and terminated the Plaintiff based

upon political reasons or factors, including his lack of affiliation with Yarbrough. Yarbrough,

Drobitsch, and Velazquez terminated the Plaintiff so that Yarbrough could hire someone

politically affiliated with her into the concourse manager position.

ANSWER:        Defendants deny the allegations in paragraph 69.

       70.     As a result of the Individual Defendants’ actions, Plaintiff has suffered damages

and other injuries including termination.

ANSWER:        Defendants deny the allegations in paragraph 70.




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         WHEREFORE, Defendants respectfully requests that this Court enter judgment in their

favor and against Plaintiff, that the action be dismissed with prejudice, and that costs be assessed

against Plaintiff.

                                      COUNT II
               PLAINTIFF AGAINST THE INDIVIDUAL DEFENDANTS FOR
               VIOLATION OF 42 U.S.C. §1983 – POLITICAL RETALIATION

         71.    Plaintiff realleges and incorporates paragraphs one (1) through sixty-three (63) as

though fully set forth at this place.

ANSWER:         Count II of Plaintiff’s Complaint, including this paragraph, was dismissed by court

order.

         72.    Yarbrough, Drobitsch, and Velazquez retaliated against Plaintiff for exercising his

right to complain of political discrimination under the First Amendment when they sent a letter

to his current employer on August 9, 2013 and prohibited him from entering into the Recorder’s

Office on May 15, 2014.

ANSWER:         Count II of Plaintiff’s Complaint, including this paragraph, was dismissed by court

order.

         73.    As a result of the Individual Defendants’ actions, Plaintiff has suffered damages

and other injuries.

ANSWER:         Count II of Plaintiff’s Complaint, including this paragraph, was dismissed by court

order.

         WHEREFORE, Defendants respectfully requests that this Court enter judgment in their

favor and against Plaintiff, that the action be dismissed with prejudice, and that costs be assessed

against Plaintiff.




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                                    COUNT III
                     PLAINTIFF AGAINST THE RECORDER’S OFFICE
                      FOR VIOLATION OF THE SHAKMAN DECREES

        74.     Plaintiff realleges and incorporates paragraphs one (1) through sixty-three (63) as

though fully set forth at this place.

ANSWER:         Defendants restate and incorporate their answers to paragraphs 1 through 63 as its

answer to paragraph 74.

        75.     The Recorder’s Office, through its agents, committed acts which constituted a

violation of the Shakman Decrees in that the Individual Defendants terminated the Plaintiff based

upon improper political considerations, to wit: his lack of political involvement with Yarbrough.

ANSWER:         Defendants deny the allegations in paragraph 75.

        76.     The Recorder’s Office, through its agent’s conduct, violated the Shakman Decrees

when it falsely disciplined Plaintiff and terminated the Plaintiff’s employment for pretextual

reasons because he was not politically affiliated with Yarbrough. The Defendant took these

actions based upon political reasons or factors.

ANSWER:         Defendants deny the allegations in paragraph 76.

        77.     As a result of the Defendant’s actions, Plaintiff was terminated based on improper

political considerations and suffered damages as well as other injuries including the loss of

money and his position of concourse manager.

ANSWER:         Defendants deny the allegations in paragraph 77.

        WHEREFORE, Defendants respectfully requests that this Court enter judgment in their

favor and against Plaintiff, that the action be dismissed with prejudice, and that costs be assessed

against Plaintiff.




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                                    COUNT IV
                                PLAINTIFF AGAINST
                         COOK COUNTY FOR INDEMNIFICATION

        78.     Plaintiff hereby incorporates and realleges paragraphs one (1) through sixty-three

(63) as though fully set forth at this place.

ANSWER:         Defendants restate and incorporate their answers to paragraphs 1 through 63 as its

answer to paragraph 78.

        79.     Pursuant to 745 ILCS 10/9 – 102, 55 ILCS 5/4 – 6003, and 55 ILCS 5/5 – 1106,

Cook County is empowered and directed to pay any judgment for compensatory damages (and

any associated attorneys’ fees and costs) for which an independently elected Cook County

officer, such as the Cook County Recorder of Deeds or her deputies, including the Individual

Defendants, acting within the scope of their employment is found liable.

ANSWER:         Defendants admit the existence of 745 ILCS 10/9-102, but deny any liability to

Plaintiff pursuant to that statute. Defendants further state that Defendant Cook County is included

in this matter for indemnification purposes only and is not a substantive defendant herein.

        80.     The acts and/or omissions of the Individual Defendants and each of them were

committed within the scope of their employment.

ANSWER:         Defendants are without information sufficient to form a belief as to the truth of

the allegations in paragraph 80 and, therefore, deny same. Defendants further state that

Defendant Cook County is included in this matter for indemnification purposes only and is not a

substantive defendant herein.

        81.     In the event that a judgment for compensatory damages is entered against

Defendants and/or any of them, Cook County must pay the judgment as well as the associated

attorneys’ fees and costs.



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ANSWER:         Defendants admit the existence of 745 ILCS 10/9-102, but deny any liability to

Plaintiff pursuant to that statute. Defendants further state that Defendant Cook County is included

in this matter for indemnification purposes only and is not a substantive defendant herein.

        WHEREFORE, Defendants respectfully requests that this Court enter judgment in their

favor and against Plaintiff, that the action be dismissed with prejudice, and that costs be assessed

against Plaintiff.

                                  AFFIRMATIVE DEFENSES

      1.    Plaintiff does not have any direct liability claim against Cook County. Instead,

Plaintiff’s lone claim against Cook County is a Carver claim for indemnity in the event judgment

is entered against the Defendants. Under Carver v. Sheriff of LaSalle County, 324 F.3d. 947, 948

(7th Cir. 2003), the County is a necessary party solely for indemnity purposes “in any suit

seeking damages against an independently-elected county officer such as the sheriff.” Cobbs v.

Sheahan, 2003 U.S. Dist. LEXIS 19811, *2, *3 (N.D. Ill. October 31, 2003) citing Carver, 324

F.3d at 947-948. Under Section 9-102 of the Tort Immunity Act, Cook County is obligated to

fund settlements and/or judgments in tort actions filed against county officials in their official

capacities. See Carver, 324 F.3d at 947-948. Cook County is a party in this matter not for any

substantive claim, but solely for indemnity purposes.

      2.    Plaintiff’s claims are time-barred.

      3.    Plaintiff failed to file his complaint pursuant to the Supplemental Relief Order

entered in Shakman et al. vs. Democratic Organization of Cook County, et al., Case No. 69 C

2145, in a timely manner.

      4.    Defendants’ conduct was reasonable and not contrary to any established law.

      5.    Plaintiff has failed to state a cause of action upon which relief can be granted.



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      6.     Defendant Cook County and Defendant Cook County Recorder of Deeds Office are

governmental entities and entitled to statutory limitations on damages awards.

       9.       Cook County and the Cook County Recorder of Deeds Office are local public

entities. Accordingly, Cook County and the Cook County Recorder of Deeds Office are immune

from punitive damages awards. City of Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981).

       10.      Plaintiff has failed to act reasonably to mitigate his damages.

       WHEREFORE, Defendants, Karen Yarbrough, William Velazquez, William Drobitsch,

the Cook County Recorder of Deeds Office, and Cook County, respectfully request that this

Court enter judgment in their favor and against Plaintiff, Phillip Christianson, that the action be

dismissed with prejudice, and that costs be assessed against Plaintiff.

                                         JURY DEMAND

       Defendants, Karen Yarbrough, William Velazquez, William Drobitsch, the Cook County

Recorder of Deeds Office, and Cook County, demand a trial by jury.

                                               Respectfully submitted,

                                               ANITA ALVAREZ
                                               State’s Attorney of Cook County


                                       By:     /s/ Scott A. Golden______________
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